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 1 ALBERT ERKEL (SBN 93793)
   aerkel@ghslaw.com
 2 NORMA NAVA FRANKLIN (SBN 266827)
   nnava@ghslaw.com
 3 JANET LY (SBN 211401)
   jly@ghslaw.com
 4 GARCIA HERNANDEZ SAWHNEY, LLP
   801 N. Brand Blvd., Suite 620
 5 Glendale, CA 91203
   PHONE (213)-347-0210
 6 FAX (213) 347-0216
 7 Attorneys for Defendants Oxnard School District,
   Cesar Morales, Ernest Morrison, Debra Cordes,
 8 Denis O’Leary, Veronica Robles-Solis, and
   Monica Madrigal Lopez
 9
                             UNITED STATES DISTRICT COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
11
    J.R., a minor, by and through her            ) Case No.: 2:17-cv-04304-JAK-FFM
12 guardian ad litem, Janelle McCammack;
    M.B., a minor, by and through her            )
13 guardian ad litem, F.B.; I.G., a minor, by )
    and through his guardian ad litem, M.E., )
14 on behalf of themselves and all those
    similarly situated,                          ) RESPONDENTS’ SUPPLEMENT
15                                               ) TO THE ADMINISTRATIVE
                                                   RECORD IN SUPPORT OF
                        Plaintiffs [Appellants], ) RESPONDENTS’ BRIEF TO THE
16
                         v.                      ) APPEAL OF M.B.;
17                                               ) DECLARATION OF LAWRENCE
    OXNARD SCHOOL DISTRICT;
18 CESAR MORALES, Superintendent of              ) JOE
    Oxnard School District, in his official      )
19 capacity; ERNEST MORRISON,                      Date: February 4, 2018
    President of the Board of Trustees, in his ) Time: 8:30 a.m.
20 official capacity; DEBRA CORDES,              ) Court: 10B
    Clerk of the Board of Trustees, in her       )
21 official capacity; DENIS O’LEARY,             )
    Trustee of the Board of Trustees, in his
22 official capacity; VERONICA ROBLES- )
    SOLIS, Trustee of the Board of Trustees, )
23 in her official capacity; MONICA              )
    MADRIGAL LOPEZ, Trustee of the
24 Board of Trustees, in her official            )
    capacity; and DOES 1 TO 10, inclusive        )
25                                               )
                   Defendants [Respondents].
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      RESPONDENTS’ SUPPLEMENT TO THE ADMINISTRATIVE RECORD IN SUPPORT OF
     RESPONDENTS’ BRIEF TO THE APPEAL OF M.B.; DECLARATION OF LAWRENCE JOE
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          TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD,
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     please take notice that in connection with the briefing regarding the individual appeal
 3
     for M.B., Defendants Oxnard School District (“the District”) Cesar Morales, Ernest
 4
     Morrison, Debra Cordes, Denis O’Leary, Veronica Robles-Solis, and Monica Madrigal
 5
     Lopez hereby submit true and correct copies of additional documents, pursuant to the
 6
     parties’ stipulation regarding supplementing the record.
 7
 8    Dated: December 17, 2018                     Respectfully Submitted,
 9
                                            GARCIA HERNÁNDEZ SAWHNEY, LLP
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11                                          By:
                                                  Norma Nava Franklin, Esq.
12                                                Albert A. Erkel Jr., Esq.
                                                  Janet Ly, Esq.
13                                                Attorneys for Defendants,
                                                  OXNARD SCHOOL DISTRICT et al.
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      RESPONDENTS’ SUPPLEMENT TO THE ADMINISTRATIVE RECORD IN SUPPORT OF
     RESPONDENTS’ BRIEF TO THE APPEAL OF M.B.; DECLARATION OF LAWRENCE JOE
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 1                          DECLARATION OF LAWRENCE JOE
 2         I, Lawrence Joe, declare as follows:
 3         1.     I am an attorney authorized to practice before this Court. I am an attorney at
 4   the law firm Garcia Hernandez Sawhney, LLP, attorneys of record in this matter for
 5   Defendants Oxnard School District (“OSD” or the “District”), Cesar Morales, Ernest
 6   Morrison, Debra Cordes, Denis O’Leary, Veronica Robles-Solis, and Monica Madrigal
 7   Lopez (collectively, “Defendants/Respondents”). I have personal knowledge of the facts
 8   set forth herein and, if called upon as a witness, I could and would testify competently
 9   thereto under oath.
10         2.     I submit this Declaration in support of Respondents’ Brief to the appeal from
11   the OAH Decision in the matter of M.B. v. Oxnard School District (OAH Case No.
12   2016100009), issued on May 25, 2017.
13         3.     I represented the District in the above-identified administrative proceeding.
14   I am also responsible for assisting the District with its monitoring and compliance
15   benchmarks for remedies awarded to M.B. by the underlying administrative Order.
16   Through the course and scope of my representation, I have received documents, including
17   student records and Individualized Education Plans for Student, as specified below.
18         4.     Pursuant to the Administrative Law Judge’s Decision in OAH Case No.
19   2016100009, the District funded an independent educational evaluation (IEE) by Ms.
20   Karen Schnee, a licensed educational therapist of Parent’s choosing.
21         5.     The District also funded an IEE for autism conducted by Dr. BJ Freeman.
22         6.     The District held an IEP meeting on January 23, 2018 to review the IEE
23   reports by Ms. Schnee and Dr. Freeman. After much discussion, the IEP team agreed
24   that M.B. met the special education eligibility criteria for Autism (primary) and Other
25   Health Impairment (secondary).
26         7.     During the January 23, 2018 IEP meeting, the IEP team also discussed the
27   recommendations by Ms. Schnee that M.B. receive direct interventions by Fast ForWard,
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      RESPONDENTS’ SUPPLEMENT TO THE ADMINISTRATIVE RECORD IN SUPPORT OF
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 1   an intensive, research-validated software for 30 minutes daily, five days per week for 6-8
 2   months (depending upon the student’s speed of progress and adherence to daily usage);
 3   Lindamood-Bell for 4 hours daily five days per week, including summer instruction for
 4   700 total hours; and direct educational therapy one hour daily, five days per week in the
 5   area of writing. The IEP team agreed to research the Fast ForWard program and to refer
 6   M.B. for an assessment by Lindamood-Bell.
 7         8.     On February 5, 2018, Lindamoodbell conducted assessment for M.B. at
 8   Lindamood-Bell’s offices in Westlake Village, CA. Attached hereto as Exhibit A is a
 9   true and correct copy of Lindamood-Bell’s evaluation summary and recommendation.
10   According to Lindamood-Bell’s recommendation, Lindamood-Bell recommended “an
11   initial period of exploratory instruction – four hours per day, five days per week – for up
12   to four weeks to note M.B.’s response to sensory-cognitive instruction to develop
13   language and literacy skills.”
14         9.     On February 12, 2018, the IEP team re-convened to discuss the assessment
15   results and recommendations by Lindamood-Bell. According to the meeting summary,
16   Ms. Nadia Villapudua, the Special Education Manager, “agreed with the post-test
17   assessment and to . . . meet and determine the effectiveness of the program as well as
18   [M.B.]’s response to the program.” However, the IEP team noted that in order to provide
19   the program, the service would require a separate room. In addition, Lindamood-Bell
20   shared that it would be difficult to provide Lindamood-Bell staffing for M.B. at the
21   District. After considering several options at the IEP meeting, M.B.’s Parent initially
22   agreed that M.B. would attend the LMB Learning Center. However, her attorney
23   indicated that they needed to discuss this further. See January 23, 2018 IEP attached as
24   Dkt. 146-1, Declaration of Shawna Parks, Ex. B pg. 28.
25         10.    On February 27, 2018, I sent an email to Student’s attorney to inform the
26   family that the District was willing to offer Lindamood-Bell at the school site once
27   Lindamood-Bell was able to secure instructors for M.B. at the school. I also informed
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      RESPONDENTS’ SUPPLEMENT TO THE ADMINISTRATIVE RECORD IN SUPPORT OF
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 1   Student’s attorney that “[i]f Parent would like to begin the initial 30-day evaluation
 2   period sooner, the District is willing to reimburse Parent for mileage at the IRS rate if
 3   Parent is able to provide transportation to Lindamood-Bell’s Westlake Center.” Attached
 4   hereto as Exhibit B is a true and correct copy of February 27, 2018 email that I sent to
 5   Student’s attorney regarding Lindamood-Bell.
 6         11.     On June 8, 2018, an Addendum IEP meeting was held to offer Lindamood-
 7   Bell to M.B. during Extended School Year (“ESY”) at Driffill Elementary School in the
 8   Oxnard School District. Attached hereto as Exhibit C is a true and correct copy of June
 9   8, 2018 Addendum IEP. As indicated in Parent’s response to the Addendum IEP, M.B.
10   had a conflict for summer 2018 and was therefore not able to attend Lindamood-Bell
11   during ESY.
12         12.     I declare under penalty of perjury under the laws of the State of California
13   that the foregoing is true and correct.
14         Executed on December 17, 2018, at Glendale, California.
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16                                             _____________________________
17                                                       Lawrence Joe
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      RESPONDENTS’ SUPPLEMENT TO THE ADMINISTRATIVE RECORD IN SUPPORT OF
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 1
                                CERTIFICATE OF SERVICE
 2
 3        The undersigned attorney hereby certifies that on December 17, 2018, I caused a
   true and correct copy of the foregoing RESPONDENTS’ SUPPLEMENT TO THE
 4 ADMINISTRATIVE RECORD IN SUPPORT OF RESPONDENTS’ BRIEF TO
 5 THE APPEAL OF M.B.; DECLARATION OF LAWRENCE JOE to be
   electronically filed with the Clerk of the District Court using the CM/ECF system,
 6
   which sent notification of such filing to counsel for all parties.
 7
 8
 9    Dated: December 17, 2018                  By:         /s/Norma Nava Franklin .
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                                  CERTIFICATE OF SERVICE
